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         ORDERED in the Southern District of Florida on May 7, 2019.




                                                        John K. Olson, Judge
                                                        United States Bankruptcy Court
 _____________________________________________________________________________

                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

                                                                     CASE NO.: 16-11496-BKC-JKO
                                                                  PROCEEDING UNDER CHAPTER 13

IN RE:

CONSTANCE MARIE FREUND
XXX-XX-2421

DEBTOR
_____________________________/

             ORDER GRANTING TRUSTEE'S MOTION TO DEVIATE FROM PLAN
                      AND DEEM CLAIM WITHDRAWN (DE# 137)

   THIS CAUSE came to be heard on May 6, 2019 on Robin R. Weiner, Standing Chapter 13 Trustee's
("Trustee") Motion to Deviate from Plan and Deem Claim Withdrawn and based on the record, it is

   ORDERED:
   1. The Trustee's Motion is GRANTED.

   2. The Trustee is directed to disburse funds specified in the Motion allocated to Bayview Loan
      Servicing, LLC ("Creditor") to pay administrative, secured, and priority creditors more quickly (if
      applicable) and to increase the amount paid to allowed general unsecured creditors by the balance
      due Creditor for the remainder of the Plan term.

   3. The Debtor shall continue making payments under the Plan until further Order of this Court, if
      applicable.
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  4. The Proof of Claim filed by Creditor is deemed withdrawn

                                                ###

ORDER SUBMITTED BY:

ROBIN R. WEINER, ESQUIRE
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 559007
FORT LAUDERDALE, FL 33355-9007
954-382-2001

COPIES FURNISHED TO:

DEBTOR
CONSTANCE MARIE FREUND
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PLANTATION, FL 33325-1814

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8751 W. BROWARD BLVD.
SUITE 301
PLANTATION, FL 33324-2632

CREDITOR
BAYVIEW LOAN SERVICING, LLC
4425 PONCE DE LEON BLVD
5TH FLOOR
CORAL GABLES, FL 33146

ADDITIONAL CREDITORS
BRIAN BOMSTEIN
REGISTERED AGENT FOR BAYVIEW LOAN SERVICING, INC.
4425 PONCE DE LEON BLVD, 4TH FL.
MIAMI, FL 33146

RICHARD O'BRIEN, PRESIDENT
4425 PONCE DE LEON BLVD, 4TH FLOOR
BAYVIEW LOAN SERVICING, LLC
CORAL GABLES, FL 33146
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BAYVIEW LOAN SERVICING LLC
C/O MATT HOLTSINGER
POB 800
TAMPA, FL 33601

ROBIN R. WEINER IS DIRECTED TO SERVE COPIES OF THIS ORDER UPON THE PARTIES
LISTED AND FILE A CERTIFICATE OF SERVICE.
